        Case 1:17-cv-00889-EJD Document 17 Filed 01/29/18 Page 1 of 3



              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 IDEAL INNOVATIONS, INC.,               )
 THE RIGHT PROBLEM, LLC, and            )
 ROBERT KOCHER,                         )   No. 1:17-cv-00889
                                        )
       Plaintiffs,                      )   Senior Judge Edward J. Damich
                                        )
              v.                        )   THE UNITED STATES’ MOTION TO
                                        )   ISSUE RULE 14(b) NOTICES
 THE UNITED STATES OF                   )
 AMERICA,                               )
                                        )
       Defendant.                       )
                                        )

      The United States of America (“United States”) moves for the Court to issue notice

that, if they so desire, the following may appear and defend any interests they may have

pursuant to Rule 14(b):

                     Navistar Inc.
                     c/o CT Corporation System
                     4701 Cox Rd., Suite 285
                     Glen Allen, VA 23060

                     General Dynamics Corporation
                     c/o CT Corporation System
                     4701 Cox Rd., Suite 285
                     Glen Allen, VA 23060

                     BAE Systems Inc.
                     c/o CT Corporation System
                     4701 Cox Rd., Suite 285
                     Glen Allen, VA 23060

                     Oshkosh Corporation
                     c/o CT Corporation System
                     4701 Cox Rd., Suite 285
                     Glen Allen, VA 23060
         Case 1:17-cv-00889-EJD Document 17 Filed 01/29/18 Page 2 of 3



                        STATEMENT IN SUPPORT OF MOTION

       Plaintiffs Ideal Innovations, Inc., The Right Problem, LLC, and Robert Kocher

(collectively “Plaintiffs”) initiated this action to recover on patent and trade secret claims

related to certain federal acquisitions. See generally R. 1 (Complaint).

       Plaintiffs identified the “patents-in-suit” as United States Patents Nos. 7,401,540

(“the ‘540 Patent”), 8,365,648 (“the ‘648 Patent”), and 8,651,008 (“the ‘008 Patent”). See id.

at ¶ 9-12. The patents-in-suit pertain to an armor “configuration” for protecting military

vehicles from inter alia explosively formed projectiles. See, e.g., id. at ¶ 12. Plaintiffs

alleged the United States is liable for patent infringement because the United States “has

infringed, and continues to infringe, one or more claims of the [patents-in-suit] by

making, using, and/or having manufactured, without license or lawful right, the

invention taught by this patent.” See, e.g., id. at ¶ 46, 69, 84.

       Plaintiffs identified the “trade secrets” at issue as pertaining to: “the technical

characteristics and specifications of prototypes equipped with Mr. Kocher’s armor

system, the specific materials used in I-3’s prototype implementation of the armor system,

[] implementation details (including photographs) showing how a commercially

available vehicle can be transformed into an EFP-resistant vehicle,” and “itemized cost

savings over other military vehicles that Mr. Kocher’s invention would enable.” See, e.g.,

id. at ¶ 19. Plaintiffs allege the United States is liable on their trade secret related claims

because inter alia it shared Plaintiffs’ trade secrets with Plaintiffs’ competitors, including

at least one of the above named suppliers. See id. at ¶¶ 87-103.

       Based on the Complaint’s allegations, the allegedly infringing product may have

                                               2
         Case 1:17-cv-00889-EJD Document 17 Filed 01/29/18 Page 3 of 3



been sold by the suppliers identified above, either directly or by way of the suppliers’

status as the successor-in-interest to a direct supplier. As a result, each of the above

named suppliers may be an indemnitor or commercial user of the accused product and,

as such, may have an interest in appearing and defending their rights. The issuance of

the requested notice for each of the abovementioned companies conforms to the

established practice of the United States Court of Federal Claims. See, e.g., Carrier Corp.

v. United States, 534 F.2d 250, 251-52 (Ct. Cl. 1976); Bowser, Inc. v. United States, 420 F.2d

1057, 1060 (Ct. Cl. 1970); Rockwell Int’l Corp. v. United States, 31 Fed. Cl. 536, 539-40 (1994);

see also In re UUSI, LLC, 549 Fed. Appx. 964 (Fed. Cir. 2013).

                                       CONCLUSION

       For the above-stated reasons, the government respectfully requests that this

motion be granted and the requested notices be issued.

 Date: January 29, 2018                            Respectfully submitted,

                                                   CHAD A. READLER
                                                   Acting Assistant Attorney General

                                                   GARY L. HAUSKEN
                                                   Director

                                                   /s/ Lee Perla
                                                   LEE PERLA, Trial Attorney
                                                   U.S. Dept. of Justice
                                                   Washington, D.C. 20530
                                                   Tel:           202-307-0334
                                                   Fax:           202-307-0345
                                                   Email:         lee.perla@usdoj.gov
                                                   Counsel for the United States of America




                                               3
